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          ORDERED in the Southern District of Florida on May 18, 2020.




                                                                 Robert A. Mark, Judge
                                                                 United States Bankruptcy Court
_____________________________________________________________________________




                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION
                                           www.flsb.uscourts.gov

       In re: Judith Holmes,                                             Case No.19-25604-RAM
                                                                         Chapter 13
       Debtor                  /


                     AGREED ORDER ON DEBTOR’S OBJECTION TO NATIONSTAR
                                MORTGAGE'S PROOF OF CLAIM

                Debtor filed an Objection to Claim of Nationstar Mortgage dba Mr. Cooper (DE 29)

       and Nationstar dba Mr. Cooper responded. (DE 43) The Court having been advised that

       debtor and creditor have reached an agreement it is ORDERED that:

                1.    The "amount necessary to cure any default as of the date of the petition" as

       stated in section 6 of Nationstar Mortgage dba Mr. Cooper's Proof of Claim is $18,233.14.


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The party submitting the order shall serve a copy of the signed
order on all required parties and file with the court a certificate
of service conforming with Local Rule 2002-1(F).
